Fill in this information to identify the case:

Debtor Name Breault  Research Organization Inc
            __________________________________________________________________


                                        __________
United States Bankruptcy Court for the: _______      District
                                                District       Arizona
                                                              of __________
                                                         of ________

                                                                                                                     Check if this is an
Case number: 4:19-bk-08754-BMW
              _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                September 2019
                     ___________                                                               Date report filed:     10/15/2019
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                  Optical Eng. serv/software
Line of business: ________________________                                                     NAISC code:          5734-01,5413-
                                                                                                                    ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                          Linda Juozapaitis
                                            ____________________________________________

Original signature of responsible party     /s/ Linda Juozapaitis
                                            ____________________________________________

Printed name of responsible party           Linda Juozapaitis
                                            ____________________________________________


             1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No       N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔               
    2.   Do you plan to continue to operate the business next month?                                                       ✔
                                                                                                                                          
    3.   Have you paid all of your bills on time?                                                                                 ✔
                                                                                                                                           
    4.   Did you pay your employees on time?                                                                               ✔
                                                                                                                                          
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   ✔
                                                                                                                                          
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                ✔
                                                                                                                                          
    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔               
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   
                                                                                                                           ✔               
    9.   Have you timely paid all of your insurance premiums?                                                              ✔
                                                                                                                                          
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           ✔
                                                                                                                                           
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔        
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     ✔
                                                                                                                                           
    13. Did any insurance company cancel your policy?                                                                             ✔
                                                                                                                                           
    14. Did you have any unusual or significant unanticipated expenses?                                                           ✔
                                                                                                                                           
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                       ✔
                                                                                                                                           
    16. Has anyone made an investment in your business?                                                                           ✔
                                                                                                                                           
Official Form 425C                          Monthly Operating Report for Small Business Under Chapter 11                       page 1
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                             4:19-bk-08754-BMW
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                     ✔
                                                                                                                                       
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                 5,229.44
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            189,846.88
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          132,000.84
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         +      57,846.04
                                                                                                                             $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                63,075.48
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                           2,465.00
                                                                                                                             $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                               4:19-bk-08754-BMW
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         163,272.00
                                                                                                                               $ ____________

                (Exhibit F)



              5. Employees
                                                                                                                                          12
                                                                                                                                 ____________
    26. What was the number of employees when the case was filed?
                                                                                                                                          12
                                                                                                                                 ____________
    27. What is the number of employees as of the date of this monthly report?



              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                            0
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?
                                                                                                                                            0
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?
                                                                                                                                            0
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                      0
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ 137,030.00
                                          ____________           –     189,847.00
                                                                     $ ____________
                                                                                               =      -52,817.00
                                                                                                   $ ____________
    32. Cash receipts
                                        $ 133,500.00                   132,001.00              =        1,499.00
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                            3,530.00             –      57,846.00              =      -54,316.00
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                           86,301.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                   95,000.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                     -8,699.00




Official Form 425C                      Monthly Operating Report for Small Business Under Chapter 11                            page 3
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                            4:19-bk-08754-BMW
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    ✔
       38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
       39. Bank reconciliation reports for each account.

    ✔
       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




Official Form 425C                      Monthly Operating Report for Small Business Under Chapter 11                         page 4
    Official Form 425 C
    Monthly Operating Report for Small Business Under Chapter 11
    EXCEL EXHIBITS & INSTRUCTIONS

1   Enter case information in the cells below.
    Data entered in these cells is used is linked to other worksheets.

    Case Name:                                              Breault Research Organization Inc
    Case Number:                                            4:19-bk-08754-BMW
    Petition Date:                                                07/16/19
    First MOR Date:                                               07/31/19
    Current MOR Date:                                             09/30/19
    DIP Operating Account Bank                              Alliance Bank of Arizona
    Operating Account #                                             6379
    Other Account #, if applicable         Tax Acct                 9064
    Other Account #, if applicable         Payroll Acct              386
    Other Account #, if applicable


2   Form 425C Questionnaire
       a.   Questions 1-9. If answered No, provide written explanation in the box with the number corresponding to the question number on Exhibit A.
       b.   Questions 9 -18. If answered No, provide written explanation in the box with the number corresponding to the question number on Exhibit B.

3   Bank Reconcilation Worksheet
       a.   Enter ending balance from current month bank statement(s) in cells F14 to K14.
       b.   Identify and list all Deposits in Transit amounts for each account beginning in row 22.
       c.   Identify and list each Outstanding Check amount for each account beginning in row 48.
       d.   Verify balance(s) in row 16 equal account book balances on the current MOR date.
       e.   Enter the total amount of deposits in transit from the previous month's bank reconciliation
            clearing in the current month's statement.
       f.   Enter the total amounts of outstanding checks from the previous month's bank reconciliation
            where cleared in the current month's statement.

4   Cash Activity Summary Worksheet
       a.    Classify and summarize bank deposits into each of the applicable categories listed in Exhibit C&D (or attach your own schedule) and and enter into the appropriate worksheet cells
       b.    Classify and summarize bank disbursement into each of the applicable categories listed in Exhibit C&D (or attach you own schedule) and and enter into the appropriate worksheet cells.
      c.     Verify that the ending bank account balances in row 46 agree to the bank statement and ending balance in the bank reconciliation
             in row 13.
       d.    Enter cash on hand reported (aka book balances) at the end of the previous month in the appropriate cells in Row 50.
      e.     Verify amount in Cell G50 equals the cash reported in the previous month's balance sheet.
       f.    Enter total in row 50 as total opening balance of all accounts in Line 19 of the MOR.
      g.     Enter total in row 55 as total cash receipts in Line 20 of the MOR.
      h.     Enter the total in row 60 as total cash disbursments in Line 21 of the MOR.
       i.    Enter the total in row 62 as total cash flow in Line 22 of the MOR.
       j.    Enter the total in row 64 as cash on hand at the end of the month Line 23 of the MOR.
       k.    Enter the total in row 70 as total professional fees paid this month in Line 28 of the MOR.
       l.    Enter the total in row 74 as total other professional fees paid this month in Line 30 of the MOR.

5   Exhibit E
                Attach your internally prepared schedule of post-petition liabiities or,
                List liabilities and unpaid bills in Exhibit E.
                Carry forward total to Line 24 of Form 425 C.
6   Exhibit F
                Attach your internally prepared schedule of post-petition liabiities or,
                List Amounts due from others on Exhibit F.
                Carry forward the total to Line 25 of Form 425 C.

7   Balance Sheet Worksheet
            Copy Balance Sheet Balances for all historical reports from previous months Balance Sheet worksheet.
            Enter amounts from the Debtor's internally prepared balance sheet into Exhibit G in the category
            which most closely corresponds to the debtor's balance sheet.

8   Income Statement Worksheet
            Copy Income Statement Balances for all historical reports from previous months Income Statement worksheet.
            Enter amounts from the Debtor's internally prepared income statement into Exhibit H in the category
            which most closely corresponds to the debtor's income statement.

9   Cash Flow Worksheet
            Copy historical amounts appearing in the previous month's cash flow worksheet
            into the corresponding months in the current months cash flow worksheet.

10 Cash Activity Summary Worksheet
            Enter the total in row 72 as total professional fees paid in this case in Line 29 of the MOR.
            Enter the total in row 76 as total other professional fees paid in this case in Line 31 of the MOR.

11 Final Checking
            Verify that the resulting total in Exhibit E agrees to total post petition liabilities in in the Balance Sheet.
            Verify that the resulting total in Exhibit F agrees to total receivables in the Balance Sheet.
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Exhibit A
Case Name:                   Breault Research Organization Inc
Case Number:         19-bk-08754-BMW
Report Date:              9/30/19
                                                             Questionnaire Explanations

         Question 1 Explanation - If Answered No                                 Question 6 Explanation - If Answered No




         Question 2 Explanation - If Answered No                                 Question 7 Explanation - If Answered No




         Question 3 Explanation - If Answered No                                 Question 8 Explanation - If Answered No
Apollo Optical was paid about one week late due to late customer receipts.




         Question 4 Explanation - If Answered No                                 Question 9 Explanation - If Answered No




         Question 5 Explanation - If Answered No
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Exhibit B
Case Name:                   Breault Research Organization Inc
Case Number:         19-bk-08754-BMW
Report Date:              9/30/19

                                       Questionnaire Explanations

     Question 10 Explanation - If Answered Yes               Question 15 Explanation - If Answered Yes




     Question 11 Explanation - If Answered Yes               Question 16 Explanation - If Answered Yes




     Question 12 Explanation - If Answered Yes               Question 17 Explanation - If Answered Yes
                                                      A payment was made to SPIE for $4775.55. This invoice was entered into A/P
                                                      but not due until Sept 7th. This is the final installment for the Photonics West
                                                      2020 booth. This is the major tradeshow for Opics and it is critical we be there
                                                      to show we are still here. If I didn't pay it we would have lost the earlier
                                                      payments we make on the booth and would have had to pay it again if we could
                                                      even get a booth. Booths were sold out a long time ago.




     Question 13 Explanation - If Answered Yes               Question 18 Explanation - If Answered Yes




     Question 14 Explanation - If Answered Yes
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Bank Accounts Reconciliation
Case Name:                      Breault Research Organization Inc
Case Number:            4:19-bk-08754-BMW
Report Date:                  09/30/19

                                                 Pre-Petition                         DIP BANK ACCOUNTS
Account Type                                      Account(s)    Operating       Other        Other      Other        Total
Last 4 Digits of Account Number                                   6379          9064          386         0

Ending Balance - Bank Statement                                      $78,179         $0          $0                   $78,179
Add: Deposits in Transit ("DIT's)                          $0             $0         $0          $0             $0         $0
Less: Outstanding Checks:                                  $0       ($15,103)        $0          $0             $0   ($15,103)
Ending Balance - Books                                     $0        $63,075         $0          $0             $0    $63,075

Prior Months' DIT's in Bank Deposits                                      $0         $0          $0                        $0
Prior Months' O/S Checks in Bank Disbursements                       ($4,712)        $0          $0                   ($4,712)
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                                   Breault Research Organization Inc
Case Number:                                          4:19-bk-08754-BMW
Report Date:                                                09/30/19

                                                       Pre-Petition               DIP BANK ACCOUNTS
Account Type                                            Account(s)    Operating      Tax      Payroll   Other     Total
Last 4 Digits of Account Number                                         6379        9064       386

Beginning Bank Statement Balance                                       $9,942                                    $9,942

CASH RECEIPTS - Exhibit C
  Sales/Receipts
  Accounts Receivable - Postpetition                                  $134,775                                  $134,775
  Other Receipts                                                       $14,585                                   $14,585
  Payments From Insiders (Excl. Loans and Capital)
  Transfers From Other Accounts                                                   $19,452     $52,971           $72,423
  Proceeds From Sale Of Assets
  Accounts Receivable - Prepetition                                   $40,487                                   $40,487
  Loans and Advances
  Capital Contributions

   TOTAL BANK DEPOSITS                                                $189,847    $19,452     $52,971           $262,270

CASH DISBURSEMENTS - Exhibit D
  Cash Withdrawals and Payments
  Operating Disbursements                                             -$49,187    -$19,452   -$52,971           -$121,610
  Professional Fees - excluding reorg costs
  Other Disbursements
  Transfers To Other Accounts                                         -$72,423                                  -$72,423
  Owner Draws/Advances
  Capital Expenditures
  Prepetition Debt Service Payments (PITI)
  Debt Service Payments (PITI)
  Reorganization Disbursements
    Attorney Fees
    Accountant Fees
    US Trustee Quarterly Fees
    Bankruptcy Court Costs
    Other Reorg Costs
  TOTAL BANK DISBURSEMENTS                                            -$121,610   -$19,452   -$52,971           -$194,033

Ending Bank Statement Balance                                         $78,179                                   $78,179

2. Summary of Cash Activity for All Accounts

Line 19. Total Opening Balance of all accounts                         $5,229                                    $5,229

Total Bank Deposits, excluding transfers                              $189,847                                  $189,847
Less: Deposits in Transit - Beginning of Period
Plus: Deposits in Transit - End of Period
Line 20. Total Cash Receipts                                          $189,847                                  $189,847

Total Bank Disbursements, excluding transfers                         -$49,187    -$19,452   -$52,971           -$121,610
Less: O/S Checks Cleared - Beginning of Period                         $4,712                                     $4,712
Plus: Outstanding Checks - End of Period                              -$15,103                                   -$15,103
Line 21. Total Cash Disbursements                                     -$59,578    -$19,452   -$52,971           -$132,001

Line 22. Net Cash Flow                                                $130,269    -$19,452   -$52,971           $57,846

Line 23. Cash on Hand at End of Month                                 $135,498    -$19,452   -$52,971           $63,075

Line 28. Amount paid this month for professional
fees for this case

Line 29. Amount paid for professional fees for this
case

Line 30. Amount paid this month for other
professional fees.

Line 31. Amount paid for other professional fees for
this case
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Cash Activity - Operating Account
Case Name:                                                                                                   Breault Research Organization Inc
Case Number:                                                                                                 4:19-bk-08754-BMW
Report Date:                                                                                                   09/30/19

                                                                                                                                                                                            Operating Account Activity
                                                                                                                                  1            2             3             y4             5            6          7              8          9            10        p 11 g        12        13         14            15        16
                                                                                                                                                                                                                                                                                                                               p           17          18           19g          20g        21
                                                                                                                                                                                                                                                                                                                                                                                             g         22g         23
                                                                                                                            Sales/Receipt Receivable       Other           From                   from Asset Receivable      Loans and  Capital     Withdrawals Disbursment Profession Disbursme   Transfers     Draws and Expenditur     Debt       Petition    Attorney    Accountant   Trustee     Court      Reorg -
                    Category             Date                                                  Description     Amount             s       Post-Petition   Receipts       Insiders    Transfers IN    Sales   Pre-Petition    Advances Contributions     and           s       al Fees      nts        Out        Advances     es         Service      Debt         Fees         Fees       Fees       Costs       Other      Total


11.Operating-Disbursements                9/3/2019   check 29325 - Prescott Printing                             ($70.66)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($70.66)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($70.66)
11.Operating-Disbursements                9/9/2019   check 29335 - GST Holdings                                 ($248.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($248.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($248.00)
11.Operating-Disbursements                9/3/2019   check 29336 - EDS - Employers Dental Services               ($11.14)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($11.14)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($11.14)
11.Operating-Disbursements                9/6/2019   check 29337 - Level 3 communications                       ($183.54)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($183.54)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($183.54)
11.Operating-Disbursements                9/9/2019   check 29338 - ADP LLC                                      ($505.76)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($505.76)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($505.76)
11.Operating-Disbursements                9/6/2019   check 29339 - Raga LLC                                   ($2,405.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00     ($2,405.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($2,405.00)
11.Operating-Disbursements                9/9/2019   check 29341 - Jon Herlocker                                 ($81.71)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($81.71)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($81.71)
11.Operating-Disbursements               9/23/2019   check 29342 - Compliance machine & Tool                  ($8,173.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00     ($8,173.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($8,173.00)
11.Operating-Disbursements               9/16/2019   check 29343 - Paul McClellan                               ($128.61)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($128.61)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($128.61)
11.Operating-Disbursements               9/13/2019   check 29345 - Mark Fink                                  ($1,288.75)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00     ($1,288.75)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($1,288.75)
11.Operating-Disbursements                9/9/2019   check 29347 - Linda Juozapaitis                            ($635.12)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($635.12)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($635.12)
11.Operating-Disbursements               9/10/2019   check 29348 - EDS - Employers Dental Services              ($117.97)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($117.97)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($117.97)
11.Operating-Disbursements               9/16/2019   check 29349 - LegalShield                                  ($106.55)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($106.55)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($106.55)
11.Operating-Disbursements               9/23/2019   check 29350 - Jennifer Breeding                            ($480.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($480.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($480.00)
11.Operating-Disbursements               9/24/2019   check 29352 - DigiKey Electronics                            ($8.99)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00         ($8.99)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00      ($8.99)
11.Operating-Disbursements               9/23/2019   check 29353 - ADP LLC                                      ($311.64)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($311.64)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($311.64)
11.Operating-Disbursements               9/24/2019   check 29354 - DigiKey electronics                          ($211.44)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($211.44)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($211.44)
11.Operating-Disbursements                9/3/2019   POS Purchase - Home Depot                                    ($4.76)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00         ($4.76)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00      ($4.76)
11.Operating-Disbursements                9/3/2019   POS Purhcase - Amazon                                       ($16.69)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($16.69)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($16.69)
11.Operating-Disbursements                9/4/2019   POS Purchase - Amazon                                       ($15.99)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($15.99)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($15.99)
11.Operating-Disbursements                9/4/2019   ACH Debit - ESG                                            ($891.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($891.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($891.00)
11.Operating-Disbursements                9/4/2019   ACH Debit - Ascensus                                     ($3,693.21)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00     ($3,693.21)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($3,693.21)
11.Operating-Disbursements                9/5/2019   POS Purchase - Amazon                                       ($16.69)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($16.69)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($16.69)
11.Operating-Disbursements                9/5/2019   ACH Debit - Paypal                                       ($4,775.55)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00     ($4,775.55)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($4,775.55)
11.Operating-Disbursements                9/9/2019   ACH Debit - UPS                                            ($292.92)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($292.92)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($292.92)
11.Operating-Disbursements               9/10/2019   ACH Debit - Unum                                           ($242.90)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($242.90)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($242.90)
11.Operating-Disbursements               9/11/2019   POS Purchase - Amazon                                       ($14.92)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($14.92)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($14.92)
14.Transfers-to-Other-Accounts           9/11/2019   Funds Transfer to taxes account                          ($9,946.21)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00   ($9,946.21)       $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($9,946.21)
14.Transfers-to-Other-Accounts           9/11/2019   Funds Transfer to payroll account                       ($27,147.70)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00 ($27,147.70)        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 ($27,147.70)
11.Operating-Disbursements               9/11/2019   ACH Debit - ESG                                             ($72.90)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($72.90)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($72.90)
11.Operating-Disbursements               9/13/2019   POS Purchse - Amazon                                        ($41.92)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($41.92)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($41.92)
11.Operating-Disbursements               9/13/2019   ACH Debit - First Insurance                              ($2,246.88)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00     ($2,246.88)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($2,246.88)
11.Operating-Disbursements               9/16/2019   POS Purchase - Anymeeting                                   ($78.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($78.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($78.00)
11.Operating-Disbursements               9/16/2019   POS Purchase - SpiderOak                                    ($90.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($90.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($90.00)
11.Operating-Disbursements               9/16/2019   POS Purchase - Pantheon systems                            ($132.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($132.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($132.00)
11.Operating-Disbursements               9/17/2019   POS Puchase - Stamps.com                                    ($19.56)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($19.56)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($19.56)
11.Operating-Disbursements               9/17/2019   POS Purchase - Amazon                                       ($81.50)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($81.50)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($81.50)
11.Operating-Disbursements               9/17/2019   ACH Debit - Ascensus Trust                               ($3,143.21)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00     ($3,143.21)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($3,143.21)
11.Operating-Disbursements               9/17/2019   ACH Debit - Humana                                       ($7,472.78)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00     ($7,472.78)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($7,472.78)
11.Operating-Disbursements               9/17/2019   POS Purchase - Amazon                                      ($152.17)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($152.17)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($152.17)
11.Operating-Disbursements               9/20/2019   POS Purchase - Costco                                       ($55.91)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($55.91)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($55.91)
11.Operating-Disbursements               9/23/2019   POS Purchase - Amazon                                        ($5.54)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00         ($5.54)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00      ($5.54)
11.Operating-Disbursements               9/23/2019   ACH Debit - Culligan                                        ($31.74)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($31.74)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($31.74)
11.Operating-Disbursements               9/24/2019   ACH Debit - Paypal                                          ($20.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($20.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($20.00)
11.Operating-Disbursements               9/25/2019   POS Purchase - Quickbooks                                   ($76.09)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($76.09)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($76.09)
14.Transfers-to-Other-Accounts           9/25/2019   Funds Transfer to taxes account                          ($9,505.88)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00   ($9,505.88)       $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($9,505.88)
14.Transfers-to-Other-Accounts           9/25/2019   Funds Transfer to payroll account                       ($25,823.63)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00 ($25,823.63)        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 ($25,823.63)
11.Operating-Disbursements               9/26/2019   POS Purchase - Target                                        ($2.15)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00         ($2.15)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00      ($2.15)
11.Operating-Disbursements               9/27/2019   POS Purchase - Allegra of Tucson                            ($85.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($85.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($85.00)
11.Operating-Disbursements               9/27/2019   ACH Debit - UPS                                             ($36.02)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($36.02)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($36.02)
11.Operating-Disbursements               9/30/2019   POS Purchase - Image360                                     ($64.72)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($64.72)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($64.72)
11.Operating-Disbursements               9/30/2019   ACH Debit - BNY Mellon Insu.Prem                             ($1.95)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00         ($1.95)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00      ($1.95)
11.Operating-Disbursements               9/30/2019   ACH Debit - Ascensus Trust                               ($3,743.21)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00     ($3,743.21)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($3,743.21)
11.Operating-Disbursements               9/30/2019   ACH Debit - Chubb Insurance                              ($6,016.25)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00     ($6,016.25)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00  ($6,016.25)
2.Post-Petition-Accounts-Receivable       9/3/2019   Incoming Wire - UoTek Co LTD                             $30,600.00           $0.00    $30,600.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 $30,600.00
11.Operating-Disbursements                           bank fee                                                    ($19.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($19.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($19.00)
11.Operating-Disbursements                9/4/2019   POS Refund - Amazon                                          $16.69           $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00         $16.69    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00      $16.69
3.Other-Receipts                          9/4/2019   Incoming wire - New Era                                  $17,050.00           $0.00         $0.00     $17,050.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 $17,050.00
7.Pre-Petition-Accounts-Receivable        9/6/2019   Incoming wire - Cornes Technolgies Limited               $13,275.00           $0.00         $0.00          $0.00       $0.00         $0.00       $0.00    $13,275.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 $13,275.00
3.Other-Receipts                          9/9/2019   Mobile Deposit - Wells Fargo foreign Exchange Rebate      $1,126.26           $0.00         $0.00      $1,126.26       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00   $1,126.26
2.Post-Petition-Accounts-Receivable      9/11/2019   Incoming Wire - thales Alenia space                       $3,500.00           $0.00     $3,500.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00   $3,500.00
11.Operating-Disbursements                           bank fee                                                    ($15.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($15.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($15.00)
3.Other-Receipts                         9/16/2019   Mobile Deposit                                           $16,250.00           $0.00         $0.00     $16,250.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 $16,250.00
7.Pre-Petition-Accounts-Receivable       9/16/2019   Incoming Wire - Automotive Lighting Italia               $16,412.00           $0.00         $0.00          $0.00       $0.00         $0.00       $0.00    $16,412.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 $16,412.00
11.Operating-Disbursements                           bank fee                                                    ($20.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($20.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($20.00)
2.Post-Petition-Accounts-Receivable      9/18/2019   Remote Deposit                                            $1,000.00           $0.00     $1,000.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00   $1,000.00
2.Post-Petition-Accounts-Receivable      9/18/2019   Incoming wire - Cornes Technolgies Limited                $4,425.00           $0.00     $4,425.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00   $4,425.00
2.Post-Petition-Accounts-Receivable      9/20/2019   Incoming wire - YAG Optics                                $2,800.00           $0.00     $2,800.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00   $2,800.00
11.Operating-Disbursements                           bank fee                                                    ($50.56)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($50.56)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($50.56)
7.Pre-Petition-Accounts-Receivable       9/24/2019   ACH credit - Paypal                                       $6,800.00           $0.00         $0.00          $0.00       $0.00         $0.00       $0.00     $6,800.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00   $6,800.00
11.Operating-Disbursements                           credit card fee                                            ($300.40)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($300.40)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($300.40)
2.Post-Petition-Accounts-Receivable      9/27/2019   Incoming Wire - Zernike                                  $12,000.00           $0.00    $12,000.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 $12,000.00
11.Operating-Disbursements                           bank fee                                                    ($20.00)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00        ($20.00)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     ($20.00)
2.Post-Petition-Accounts-Receivable      9/27/2019   Incoming wire - New Era                                  $79,400.00           $0.00    $79,400.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 $79,400.00
3.Other-Receipts                                     Less Down payment received previously                   ($19,850.00)          $0.00         $0.00    ($19,850.00)      $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 ($19,850.00)
7.Pre-Petition-Accounts-Receivable       9/30/2019   ACH Credit - Paypal                                       $4,000.00           $0.00         $0.00          $0.00       $0.00         $0.00       $0.00     $4,000.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00   $4,000.00
11.Operating-Disbursements                           credit card fee                                            ($176.30)          $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00       ($176.30)   $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00    ($176.30)
3.Other-Receipts                         9/30/2019   Mobile Deposit                                                $8.62           $0.00         $0.00          $8.62       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00       $8.62
2.Post-Petition-Accounts-Receivable      9/30/2019   Mobile Deposit                                              $250.00           $0.00       $250.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     $250.00
2.Post-Petition-Accounts-Receivable      9/30/2019   Mobile Deposit                                              $800.00           $0.00       $800.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00     $800.00
                                                                                                                                   $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00       $0.00
                                                                                                                                   $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00       $0.00
                                                                                                                                   $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00       $0.00
                                                                                                                                   $0.00         $0.00          $0.00       $0.00         $0.00       $0.00         $0.00        $0.00        $0.00       $0.00          $0.00    $0.00    $0.00        $0.00        $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00       $0.00
Total                                                                                                          $68,236.88           $0.00   $134,775.00     $14,584.88       $0.00         $0.00       $0.00    $40,487.00        $0.00        $0.00       $0.00   -$49,186.58     $0.00    $0.00 -$72,423.42         $0.00      $0.00       $0.00       $0.00       $0.00        $0.00       $0.00      $0.00       $0.00 $68,236.88

1.Sales/Receipts
2.Post-Petition-Accounts-Receivable
3.Other-Receipts
4.Payments-from-Insiders
5.Transfers-From-Other-Accounts
6.Proceeds-from-Sales-of-Assets
7.Pre-Petition-Accounts-Receivable
8.Loans-and-Advances
9.Capital-Contributions
10.Cash-Withdrawals-and-Payments
11.Operating-Disbursements
12.Professional-Fees-excluding-reorg
13.Other-Disbursements
14.Transfers-to-Other-Accounts
15.Owner-Draws-and-Advances
16.Capital-Expenditures
17.Pre-Petition-Debt-Service-Payments
18.Post-Petition-Debt-Service-Payments
19.Reorg-Expenses-Attorney
20.ReorgExpenses-Accountant
21.Reorg Expenses-US Trustee Fees
22.Reorg Expenses-Court Fees
23.Other-Reorg-Expenses
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                    Breault Research Organization Inc
Case Number:                                  4:19-bk-08754-BMW
Report Date:                                        9/30/19
Exhibit E

                                                       Post-Petition Liabilities
                                                                                                   Amount Due to
  Who is owed the money?    Date Incurred        Purpose of the Debt           When Due   Amount     Insiders

UPS Supply chain              08/01/19      uties/taxes for customer shipmen    8/11/19   $1,212     disputed
DigiKey Electroncis           09/12/19               for customer job          10/12/19     $72
Compliance Machine            09/18/19               for customer job          10/18/19    $680
ADP LLC                       09/30/19                  payroll fees           10/20/19    $156
Culligan of Tucson            09/30/19                 bottled water           10/20/19     $57
DigiKey Electroncis           09/23/19               for customer job          10/23/19     $45
Sharp business systems        09/28/19          copier maint. and supplies     10/28/19    $243



Line 24. Total Payables                                                                   $2,465        $0
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                    Breault Research Organization Inc
Case Number:                                 19-bk-08754-BMW
Report Date:                                     9/30/19
Exhibit F

ACCOUNTS RECEIVABLE
Who Owes You the Money                            Trade      From Insiders     Total      Due Date                                     Comments
                                                                                $0
Asdoptics Science                                 $2,000                      $2,000        9/8/19
Viavi Solutions                                   $3,500                      $3,500       9/18/19
EZ Systems                                        $2,326                      $2,326       9/26/19
New Bedford                                       $7,370                      $7,370       9/27/19
Asdoptics Science                                $10,000                     $10,000       9/29/19
Rudolph Technologies                             $1,425                       $1,425       9/30/19
Rudolph Technologies                             $3,900                       $3,900       9/30/19
Spearhead Legal LLP                              $7,410                       $7,410    down payment - prior to start of the project
EZ Systems                                       $2,326                       $2,326       10/8/19
Continential Automotive GmbH                     $3,500                       $3,500      10/10/19
Instrument Technology Research                   $3,632                       $3,632      10/11/19
EZ Systems                                       $2,326                       $2,326      10/17/19
Cornes                                           $4,425                       $4,425      10/18/19
Qualcomm Technologies                             $3,500                      $3,500      10/18/19
Malin space Science systems                       $4,600                      $4,600      10/20/19
Cornes                                            $3,375                      $3,375      10/25/19
Cornes                                            $8,550                      $8,550      10/25/19
Cornes                                           $12,975                     $12,975      10/25/19
Muth Mirrors                                      $1,250                      $1,250      10/26/19
Muth Mirrors                                      $4,500                      $4,500      10/26/19
Rudolph Technologies                             $11,675                     $11,675      10/30/19
UoTek                                             $3,113                      $3,113       11/3/19
UoTek                                            $18,446                     $18,446       11/4/19
SBIR                                              $6,140                      $6,140       11/6/19
Lanika                                            $2,625                      $2,625      11/12/19
cornes                                            $4,425                      $4,425      11/16/19
UoTek                                             $5,625                      $5,625      11/22/19
UoTek                                            $18,334                      $18,334     11/24/19
                                                                                $0
                                                                                $0
Total Accounts Receivable                       $163,272          $0         $163,272
 Less Discounts/Returns/etc.
Line 25. TOTAL RECEIVABLES                      $163,272          $0         $163,272                            Must equal total Receivables in Balance Sheet
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Additonal Information
Case Name:                                            Breault Research Organization Inc
Case Number:                              9-bk-08754-BMW
Report Date:                                 9/30/19

                                               Schedules
Balance Sheet                                     A&B
                                                07/16/19       07/31/19     08/31/19       09/30/19  10/31/19 11/30/19 12/31/19 01/31/20      02/29/20    03/31/20   04/30/20 05/31/20 06/30/20
Cash                                              $52,395        $41,821       $5,229        $63,075
Financial Assets
Accounts Receivable                              $168,903       $156,526     $251,940       $163,272
Receivables From Insiders                              $0
Investments                                            $0
Inventory                                              $0
Real Property - Net                                    $0
Fixed Assets - Net                                $23,138        $22,578      $21,419        $20,620
Property, Plant, Equipment & Vehicles - Net            $0
Intangibles and Intellectual Property
All other assets                                 $395,169       $164,307     $141,394       $142,230
Total Assets                                     $639,605       $385,232     $419,983       $389,198       $0       $0       $0        $0            $0         $0        $0       $0       $0

                                              Schedules D,
                                                 E&F
Pre-Petition Claims:                                   $0
 Secured Claims                                        $0
 Unsecured Claims                              $4,288,798       $636,578     $609,532       $552,916
 Total Pre-Petition Claims                     $4,288,798       $636,578     $609,532       $552,916       $0       $0       $0        $0            $0         $0        $0       $0       $0

Post-Petition Liabilities:
 Accounts Payable                                                $12,302      $20,713         $2,465
 Payables to Insiders                                                 $0
 Accrued Liabilities, excluding interest                              $0
 Secured Debt                                                         $0
 Accrued Interest - Secured Debt                                      $0
 Total Post-Petition Liabilities                       $0        $12,302      $20,713         $2,465       $0       $0       $0        $0            $0         $0        $0       $0       $0

Owner Equity
 Capital Investment/Stock                        $657,103       $657,103     $657,103       $657,103
 Additional Paid In Capital
 Net Income - Current Year                       ($273,491)      ($39,787)     ($1,364)       $51,813
 Retained Earnings - Petition Date             ($4,211,616)   ($4,211,616) ($4,211,616)   ($4,211,616) ######## ######## ######## ########   ($4,211,616) ######### ######## ######## ########
 Retained Earnings - Post Petition
 Total Owner Equity                            ($3,828,004)   ($3,594,300) ($3,555,877)   ($3,502,700) ######## ######## ######## ########   ($4,211,616) ######### ######## ######## ########

Total Liabilities and Owners Equity              $460,794     ($2,945,420) ($2,925,632)   ($2,947,319) ######## ######## ######## ########   ($4,211,616) ######### ######## ######## ########
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Additional Information
Case Name:                         Breault Research Organization Inc
Case Number:                       4:19-bk-08754-BMW
Report Date:                         7/16/19

                                     7/17-
Income Statement                     31/19
                                    07/31/19   08/31/19 09/30/19 10/31/19 11/30/19 12/31/19 01/31/20 02/29/20 03/31/20 04/30/20 05/31/20 06/30/20   Total        07/31/20 08/31/20 09/30/20 10/31/20 11/30/20 12/31/20 01/31/21 02/28/21 03/31/21 04/30/21 05/31/21 06/30/21    Total        07/31/21 08/31/21 09/30/21 10/31/21 11/30/21 12/31/21 01/31/22 02/28/22 03/31/22 04/30/22 05/31/22 06/30/22    Total
Revenues:
 Revenues                            $38,257 $154,737 $158,350                                                                                   $351,343                                                                         $154,125                                  $154,125                                                                          $154,125                                  $154,125
 Cost of Revenues                   -$22,023 -$18,240 -$5,235                                                                                    -$45,498                                                                        -$117,373                                 -$117,373                                                                         -$117,373                                 -$117,373
 Other                                                                                                                                                 $0                                                                                                                         $0                                                                                                                          $0
Gross Profit                         $16,234 $136,497 $153,114         $0      $0       $0       $0        $0       $0       $0       $0      $0 $305,846             $0       $0       $0       $0       $0       $0       $0    $36,751      $0       $0      $0       $0 $36,751               $0       $0       $0       $0       $0       $0       $0    $36,751      $0       $0      $0       $0 $36,751

Operating Expenses:
 Selling and Marketing                       -$15,406 -$18,596                                                                                    -$34,002                                                                                                                           $0                                                                                                                          $0
 Payroll and Payroll Taxes          -$37,741 -$61,863 -$64,579                                                                                   -$164,183                                                                         -$6,462                                      -$6,462                                                                        -$6,462                                      -$6,462
 Insider Compensation                                                                                                                                   $0                                                                         -$4,000                                      -$4,000                                                                        -$4,000                                      -$4,000
 Rent and Occupancy Costs            -$4,071    -$9,000   -$3,529                                                                                 -$16,600                                                                         -$6,302                                      -$6,302                                                                        -$6,302                                      -$6,302
 Repairs and Maintenance                                                                                                                                $0                                                                         -$1,308                                      -$1,308                                                                        -$1,308                                      -$1,308
 Property Taxes                           $0                                                                                                            $0                                                                                                                           $0                                                                                                                          $0
 Insurance                           -$7,676    -$7,624 -$11,076                                                                                  -$26,377                                                                                                                           $0                                                                                                                          $0
 Other General and Administrative    -$1,298    -$2,899 -$1,201                                                                                    -$5,397                                                                         -$1,012                                      -$1,012                                                                        -$1,012                                      -$1,012
 Professional Fees                   -$4,675                                                                                                       -$4,675                                                                                                                           $0                                                                                                                          $0
 Other                                                                                                                                                  $0                                                                           -$964                                        -$964                                                                          -$964                                        -$964
Total Operating Expenses            -$55,460 -$96,792 -$98,981         $0      $0       $0       $0        $0       $0       $0       $0      $0 -$251,233            $0       $0       $0       $0       $0       $0       $0    -$20,047     $0       $0      $0       $0    -$20,047           $0       $0       $0       $0       $0       $0       $0    -$20,047     $0       $0      $0       $0    -$20,047

Non-Operating Expenses
  Interest Expense                        $0       -$42      -$22                                                                                      -$63                                                                                                                          $0                                                                                                                          $0
  Gain (Loss) on Sale of Assets           $0                                                                                                             $0                                                                                                                          $0                                                                                                                          $0
  Moving Expenses                         $0       -$82   -$1,501                                                                                   -$1,583                                                                                                                          $0                                                                                                                          $0
  Depreciation and Amortization        -$561    -$1,159     -$799                                                                                   -$2,518                                                                        -$6,556                                      -$6,556                                                                        -$6,556                                      -$6,556
  Reorganization Expenses                                                                                                                                $0                                                                        -$2,500                                      -$2,500                                                                        -$2,500                                      -$2,500
Total Non-Operating Costs              -$561    -$1,282   -$2,321      $0      $0       $0       $0        $0       $0       $0       $0      $0    -$4,164           $0       $0       $0       $0       $0       $0       $0     -$9,056     $0       $0      $0       $0     -$9,056           $0       $0       $0       $0       $0       $0       $0     -$9,056     $0       $0      $0       $0     -$9,056

Net Income (Loss) Before Taxes      -$39,787   $38,423    $51,812      $0      $0       $0       $0        $0       $0       $0       $0      $0    $50,448           $0       $0       $0       $0       $0       $0       $0     $7,648      $0       $0      $0       $0     $7,648            $0       $0       $0       $0       $0       $0       $0     $7,648      $0       $0      $0       $0     $7,648

Federal and State Tax Expense                                                                                                                               $0                                                                                                                          $0                                                                                                                          $0

Net Income (Loss)                   -$39,787   $38,423    $51,812      $0      $0       $0       $0        $0       $0       $0       $0      $0    $50,448           $0       $0       $0       $0       $0       $0       $0     $7,648      $0       $0      $0       $0     $7,648            $0       $0       $0       $0       $0       $0       $0     $7,648      $0       $0      $0       $0     $7,648
                                                                                                Year 1                                                                                                        Year 2                                                                                                 Year 3                                                                                                 Year 4                                                                                                 Year 5                                                 Case Total
                                            ###### 08/31/19    09/30/19    ###### ###### ###### 01/31/20 02/29/20 ###### ###### ###### ######       Total     ###### ######   09/30/20   ###### ###### ###### 01/31/21 ###### ###### ###### ###### ######    Total   ###### ######   09/30/21   ###### ###### ###### 01/31/22 ###### ###### ###### ###### ######    Total   ###### ######   09/30/22   ###### ###### ###### 01/31/23 ###### ###### ###### ###### ######    Total   ###### ######   09/30/23   ###### ###### ###### 01/31/24 ###### ###### ###### ###### ######    Total    07/31/24
Operating Receipts:
  Sales/Receipts                                                 $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Accounts Receivable - Postpetition                          $134,775                                                                            #######                                                                                                    $0                                                                                                     $0                                                                                                     $0                                                                                                     $0       #######
  Other Receipts                                               $14,585                                                                            $14,585                                                                                                    $0                                                                                                     $0                                                                                                     $0                                                                                                     $0       $14,585
  Payments From Insiders (Excl. Loans a                          $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Transfers From Other Accounts                                $72,423                                                                            $72,423                                                                                                    $0                                                                                                     $0                                                                                                     $0                                                                                                     $0       $72,423
Total Operating Receipts                     $0       $0      $221,783      $0     $0      $0     $0        $0       $0     $0     $0      $0     #######      $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       #######

Operating Expenses:
  Cash Withdrawals and Payments                                   $0                                                                                 $0                                                                                                      $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Operating Disbursements                                     ($121,610)                                                                          #######                                                                                                    $0                                                                                                     $0                                                                                                     $0                                                                                                     $0       #######
  Professional Fees - excluding reorg cos                         $0                                                                                 $0                                                                                                      $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Other Disbursements                                             $0                                                                                 $0                                                                                                      $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Transfers To Other Accounts                                  ($72,423)                                                                          ($72,423)                                                                                                  $0                                                                                                     $0                                                                                                     $0                                                                                                     $0      ($72,423)
Total Operating Expenses                     $0       $0      ($194,033)    $0     $0      $0     $0        $0       $0     $0     $0      $0     #######      $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0      #######

Operating Cash Flow (Deficit)                $0       $0       $27,750      $0     $0      $0     $0        $0       $0     $0     $0      $0     $27,750      $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $27,750

Non-Operating Receipts:
  Proceeds from Sales of Assets                                  $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Pre-Petition Accounts Receivable                             $40,487                                                                            $40,487                                                                                                    $0                                                                                                     $0                                                                                                     $0                                                                                                     $0       $40,487
  Loans and Advances                                             $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Capital Contributions                                          $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
Total Non-Operating Receipts                 $0       $0       $40,487      $0     $0      $0     $0        $0       $0     $0     $0      $0     $40,487      $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $40,487

Non Operating Disbursements:
  Owner Draws/Advances                                           $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Capital Expenditures                                           $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Prepetition Debt Service Payments (PIT                         $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Debt Service Payments (PITI)                                   $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
  Reorganization Disbursements
     Attorney Fees                                               $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
     Accountant Fees                                             $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
     US Trustee Quarterly Fees                                   $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
     Bankruptcy Court Costs                                      $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
     Other Reorg Costs                                           $0                                                                                 $0                                                                                                       $0                                                                                                     $0                                                                                                     $0                                                                                                     $0         $0
Total Non-Operating Disbursements            $0       $0         $0         $0     $0      $0     $0        $0       $0     $0     $0      $0       $0         $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0         $0

Non-Operating Cash Flow (Deficit)            $0       $0       $40,487      $0     $0      $0     $0        $0       $0     $0     $0      $0     $40,487      $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0       $0     $0     $0     $0     $0      $0       $40,487

Cash Flow (Deficit)                          $0       $0       $68,237       $0     $0     $0     $0        $0        $0     $0     $0     $0   $68,237         $0     $0       $0         $0     $0     $0     $0        $0     $0     $0     $0     $0     $0        $0     $0       $0         $0     $0     $0     $0        $0     $0     $0     $0     $0     $0        $0     $0       $0         $0     $0     $0     $0        $0     $0     $0     $0     $0     $0        $0     $0       $0         $0     $0     $0     $0        $0     $0     $0     $0     $0     $0       $68,237
Accumulated Cash Flow (Deficit)              $0       $0       $68,237     ###### ###### ###### $68,237   $68,237   ###### ###### ###### ######               ###### ######   $68,237    ###### ###### ###### $68,237   ###### ###### ###### ###### ######           ###### ######   $68,237    ###### ###### ###### $68,237   ###### ###### ###### ###### ######           ###### ######   $68,237    ###### ###### ###### $68,237   ###### ###### ###### ###### ######           ###### ######   $68,237    ###### ###### ###### $68,237   ###### ###### ###### ###### ######            $68,237

Cash Balance                                 $0       $0       $68,237     ###### ###### ###### $68,237   $68,237   ###### ###### ###### ######               ###### ######   $68,237    ###### ###### ###### $68,237   ###### ###### ###### ###### ######           ###### ######   $68,237    ###### ###### ###### $68,237   ###### ###### ###### ###### ######           ###### ######   $68,237    ###### ###### ###### $68,237   ###### ###### ###### ###### ######           ###### ######   $68,237    ###### ###### ###### $68,237   ###### ###### ###### ###### ######            $68,237
   Breault Research Organization Inc
                     PROFIT AND LOSS
                          September 2019


                                                                TOTAL
Income
 401000 ES Revenue                                        49,800.03
 421100 SOFTWARE SALE - ASAP                              41,390.00
 421125 Software Sales - APEX                                 9,500.00
 424100 SOFTWARE MAINTENANCE-ASAP                         56,850.02
 424125 Software Maintenance - APEX                           1,895.81
 424900 Software Maintenance-Other                              980.69
 429500 Software Sales Discounts                              -3,199.56
 460200 Interest Income                                           6.30
 460800 Other Income - Miscellaneous                          1,126.43
Total Income                                            $158,349.72
Cost of Goods Sold
 481000 Direct Labor                                      21,404.63
 481500 Direct Fringe Benefits                                3,232.74
 482000 Direct Material                                  -22,336.83
 482500 Direct Postage & Freight                                244.74
 483100 Direct Consulting                                     2,690.00
Total Cost of Goods Sold                                  $5,235.28
GROSS PROFIT                                            $153,114.44
Expenses
 501010 Administrative Labor                              53,379.43
 501420 Vacation Time                                         5,548.16
 502010 FICA-Social Security                                  4,561.23
 502020 FICA-Medicare                                         1,066.75
 502180 SUTA Taxes - OR                                          23.79
 502200 Workers Compensation                                    233.83
 502300 Health Insurance                                      6,414.89
 502400 Employee Benefit Insurance                              204.00
 502500 Short Term Disability Insurance                         278.67
 502990 Contra - Finge Benefits                               -3,232.74
 513110 Commissions In-House                                    831.09
 513120 COMMISSIONS-OUTSIDE REPS                          17,522.50
 513210 Advertising & Marketing                                 251.02
 513710 Tradeshow Booth Costs                                     -8.99
 521080 Vehicle Mileage                                          43.50
 522210 General Liability Insurance                           3,944.89
 523110 Building Lease/Rent                                   2,405.00
 524110 Maintenance Agreements                                  418.11
 527910 Other Outside Services                                  390.00
 529110 Office Supplies                                         792.88
 529210 Operating Supplies                                        9.04
 529310 Break Room supplies & Beverages                         157.44
 531010 Bank Charges & Fees                                     783.21
 531050 Postage                                                  19.56


     Accrual Basis Tuesday, October 15, 2019 03:24 PM GMT-7               1/2
                                                              TOTAL
 531320 Meals & Entertainment                                  21.01
 531820 Licenses & Fees                                      1,789.43
 531850 Utilities                                            1,120.22
 531880 Sales & Use Tax                                        11.98
 581110 Interest Expense                                       21.63
Total Expenses                                          $99,001.53
NET OPERATING INCOME                                    $54,112.91
Other Expenses
 525310 Depreciation - Equipment                              798.86
 581912 Moving Expenses                                      1,501.14
Total Other Expenses                                     $2,300.00
NET OTHER INCOME                                        $ -2,300.00
NET INCOME                                              $51,812.91




    Accrual Basis Tuesday, October 15, 2019 03:24 PM GMT-7              2/2
                                       Breault Research Organization Inc
                                               STATEMENT OF CASH FLOWS
                                                          September 2019


                                                                                            TOTAL
OPERATING ACTIVITIES
 Net Income                                                                              51,812.91
 Adjustments to reconcile Net Income to Net Cash provided by operations:
  112100 Accounts Receivable - Trade                                                     88,667.47
  113111 Notes Receivable - Francis Miller                                                    -6.30
  151210 Prepaid Insurance - Business                                                    -1,359.86
  151250 Prepaid Insurance - Workers comp                                                  -467.67
  151910 Prepaid Expenses - Other                                                           998.05
  176500 A/D-Test Equipment & Tools                                                         259.66
  176600 A/D-Computer & Accessories                                                         444.70
  176700 A/D-Computer Software                                                               94.50
  211000 Accounts Payable (A/P)                                                         -18,247.89
  212510 401K W/H Payable - Regular                                                           0.00
  212520 Undistributed Section 125 W/H                                                    2,227.50
  212530 Optional Ins-W/H payable                                                           743.68
  214200 Accrued Vacations                                                                5,548.16
  216630 Notes Payable - Insurance Premium                                               -2,225.25
  217320 DEFERRED MAINTENANCE REVENUE                                                   -24,576.96
  217340 Deferred Revenue                                                               -38,333.00
  217430 COBRA Insurance                                                                      0.00
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:           13,766.79
Net cash provided by operating activities                                               $65,579.70
FINANCING ACTIVITIES
 Opening Balance Equity                                                                  -7,733.66
Net cash provided by financing activities                                               $ -7,733.66
NET CASH INCREASE FOR PERIOD                                                            $57,846.04
Cash at beginning of period                                                               5,229.44
CASH AT END OF PERIOD                                                                   $63,075.48




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                                    Breault Research Organization Inc
                                                         BALANCE SHEET
                                                      As of September 30, 2019


                                                                                                     TOTAL
ASSETS
 Current Assets
 Bank Accounts
  111240 Alliance Bank of Arizona checking                                                         63,075.48
  111241 Alliance Bank - Payroll Acct                                                                   0.00
  111242 Alliance Bank - Taxes Account                                                                  0.00
 Total Bank Accounts                                                                              $63,075.48
 Accounts Receivable
  112100 Accounts Receivable - Trade                                                              163,272.38
 Total Accounts Receivable                                                                       $163,272.38
 Other Current Assets
  112190 Allowance for Bad Debts                                                                   -6,005.00
  113111 Notes Receivable - Francis Miller                                                          1,544.01
  119210 A/P - Trade Deposits                                                                      21,754.50
  151210 Prepaid Insurance - Business                                                              11,042.91
  151250 Prepaid Insurance - Workers comp                                                            701.53
  151410 Prepaid Postage                                                                               12.57
  151630 Prepaid Subcontract work                                                                  23,805.00
  151810 Prepaid Tradeshow                                                                          5,917.40
  151910 Prepaid Expenses - Other                                                                   8,396.33
 Total Other Current Assets                                                                       $67,169.25
 Total Current Assets                                                                            $293,517.11
 Fixed Assets
 175100 Furniture & Fixtures                                                                       91,865.21
 175500 Test Equipment & Tools                                                                    327,565.27
 175600 Computers & Accessories                                                                   206,120.08
 175700 Computer Software                                                                          51,628.62
 176100 A/D-Furniture & Fixtures                                                                  -91,865.21
 176500 A/D-Test Equipment & Tools                                                               -318,158.91
 176600 A/D-Computer & Accessories                                                               -196,892.42
 176700 A/D-Computer Software                                                                     -49,642.45
 Total Fixed Assets                                                                               $20,620.19
 Other Assets
 181010 Trademarks                                                                                 18,471.00
 185010 Cash Value of Life Insurance                                                               53,003.02
 185100 Deposits                                                                                    1,142.00
 185200 Patent Fees                                                                                 2,445.00
 Total Other Assets                                                                               $75,061.02
TOTAL ASSETS                                                                                     $389,198.32

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable


                                        Accrual Basis Tuesday, October 15, 2019 10:54 AM GMT-7          1/2
                                                                                                    TOTAL
   211000 Accounts Payable (A/P)                                                                  2,464.61
  Total Accounts Payable                                                                         $2,464.61
  Other Current Liabilities
   212510 401K W/H Payable - Regular                                                                  0.00
   212520 Undistributed Section 125 W/H                                                               0.00
   212530 Optional Ins-W/H payable                                                                    0.00
   214200 Accrued Vacations                                                                      13,743.61
   216630 Notes Payable - Insurance Premium                                                           0.00
   217320 DEFERRED MAINTENANCE REVENUE                                                          326,636.11
   217340 Deferred Revenue                                                                      212,528.00
   217430 COBRA Insurance                                                                             8.45
   217500 Suspense Acccount                                                                           0.00
  Total Other Current Liabilities                                                              $552,916.17
 Total Current Liabilities                                                                     $555,380.78
 Total Liabilities                                                                             $555,380.78
 Equity
 300100 Preferred Stock - Series A                                                              500,000.00
 300200 Common Stock                                                                             11,534.93
 301000 Capital Contribs-Excess of PAR                                                          196,151.53
 305000 Treasury Stock                                                                           50,584.00
 320100 Retained Earnings
 Opening Balance Equity                                                                       -1,148,257.85
 Net Income                                                                                     223,804.93
 Total Equity                                                                                 $ -166,182.46
TOTAL LIABILITIES AND EQUITY                                                                   $389,198.32




                                     Accrual Basis Tuesday, October 15, 2019 10:54 AM GMT-7            2/2
